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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JOYCE WASHINGTON,
                                                 Civil Action No.
     Plaintiff,

v.
                                                 JURY TRIAL DEMANDED
VALET LIVING, LLC,

     Defendant.


                           COMPLAINT FOR DAMAGES

        COMES       NOW,    Plaintiff   Joyce   Washington   (“Plaintiff”   or   “Ms.

Washington”), by and through undersigned counsel, and files her Complaint for

Damages against Defendant Valet Living, LLC (“Defendant”), and shows the

Court as follows:

                            NATURE OF COMPLAINT

                                           1.

        Plaintiff brings this action for damages for Defendant’s violation of her

rights under the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12111 et seq. (“ADA”).




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                          JURISDICTION AND VENUE

                                          2.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343 and 42 U.S.C. § 12117.

                                          3.

      Defendant does business in this judicial district. Additionally, the unlawful

employment practices alleged in this Complaint were committed within this

district. In accordance with 28 U.S.C. § 1391, venue is appropriate in this Court.

                                     PARTIES

                                          4.

      Plaintiff is a female citizen of the United States of America and is subject to

the jurisdiction of this Court.

                                          5.

      Defendant is licensed to conduct business in this district.

                                          6.

      Defendant is and has been, at all times relevant to this Complaint, an

employer as defined under 42 U.S.C. § 12111(5)(A), is qualified and licensed to do

business in Georgia, and has conducted business within this District.




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                                          7.

      Plaintiff is a female citizen of the United States of America and a resident of

the State of Georgia and at all such times, Plaintiff was an “employee” of

Defendant as defined under 42 U.S.C. § 12111(4).

                                          8.

      During all times relevant hereto, Defendant had employed fifteen (15) or

more employees for the requisite duration under the ADA. Defendant is therefore

covered under the ADA in accordance with 42 U.S.C. § 12111(5).

                                          9.

      Defendant may be served with process via its Registered Agent, Registered

Agent Solutions, Inc., at 900 Old Roswell Lakes Parkway, Suite 310, Roswell, GA

30076.

                     ADMINISTRATIVE PROCEDURES

                                          10.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”) on December 8, 2020.

                                          11.

      The EEOC issued a “Notice of Right to Sue” on April 13, 2021, entitling an

action to be commenced within ninety (90) days of receipt of that notice.


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                                         12.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue.”

                            FACTUAL ALLEGATIONS

                                         13.

      Defendant hired Ms. Washington as a Concierge on March 2, 2020.

                                         14.

      Ms. Washington has a disability and/or perceived disability.

                                         15.

      More specifically, Ms. Washington had been diagnosed with cancer, which

left her immunocompromised.

                                         16.

      Ms. Washington notified Defendant of her disability, i.e. her cancer

diagnosis, upon being hired.

                                         17.

      On or about August 17, 2020, Defendant promoted Ms. Washington to Lead

Concierge.




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                                          18.

        On or about August 26, 2020, Defendant relocated Ms. Washington to Cyan

on Peachtree (“Cyan”) in Buckhead as its permanent Lead Concierge.

                                          19.

        While the previous locations Ms. Washington had been appointed to were

COVID safe environments, Cyan was not.

                                          20.

        For example, there was no mandate or requirement regarding wearing a

mask.

                                          21.

        There was no viable signage regarding social distancing.

                                          22.

        The concierge desk did not have any type of boundary separating people.

                                          23.

        On or about September 1, 2020, Ms. Washington contacted Human

Resources to request both signage and desk protection.

                                          24.

        Ms. Washington also complained that Ms. Williams-McCarley had placed

her at the Cyan knowing it was unsafe due to Ms. Washington’s disability.


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                                            25.

      Ms. Washington obtained a letter from her medical provider on September 2,

2020, noting that she was considered high risk, and advising that she “work in an

environment and office building where current CDC recommendations for wearing

masks and social distancing are adhered.”

                                            26.

      Ms. Washington’s manager, Trazet Williams-McCarley, thereafter began to

retaliate against Ms. Washington.

                                            27.

      Ms. Williams-McCarley took Ms. Washington off the schedule for a few

days while she prepared signs.

                                            28.

      Ms. Williams-McCarley accused Ms. Washington of undermining her

authority by going to Human Resources.

                                            29.

      Ms. Williams-McCarley attempted to use intimidation tactics towards Ms.

Washington.




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                                          30.

        Ms. Williams-McCarley had other Lead Concierges monitor Ms.

Washington’s actions.

                                          31.

        Ms. Williams-McCarley falsely accused Ms. Washington of misconduct; the

disciplinary action was dropped when Ms. Williams-McCarley was unable to

provide any support for her claims.

                                          32.

        On September 7, 2020, Ms. Williams-McCarley remanded Ms. Washington

to sit in her car for nearly two hours.

                                          33.

        Ms. Washington was scheduled to work 7 a.m. until 3 p.m. on September 7,

2020.

                                          34.

        At approximately 2 p.m., Summer Covington, who was to relieve Ms.

Washington, called to notify Ms. Washington. Another employee, Dalton, had

agreed to cover her shift.




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                                         35.

       Dalton confirmed with Ms. Washington that he was covering, but that he

would be a little late.

                                         36.

       At approximately 3:44 p.m., Dalton sent a text to Ms. Washington stating

“IV [sic] been informed by trazet [sic] that she does not want me there to avoid

drama.”

                                         37.

       Ms. Williams-McCarley was aware that Ms. Washington was unbale to

cover the shift because she was scheduled to work at her other job that evening.

                                         38.

       Ms. Williams-McCarley did not respond to Ms. Washington’s calls and text

messages requesting an update as to when to expert her replacement.

                                         39.

       Ms. Washington stayed three hours past her scheduled shift waiting for Ms.

Williams-McCarley to cover her.

                                         40.

       The security guard agreed to sit at the desk until Ms. Williams-McCarley

arrived.


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                                         41.

      Ms. Washington clocked out at 6:10 p.m. on September 7, 2020.

                                         42.

      Defendant terminated Ms. Washington’s employment for violation of policy.

                                         43.

      Defendant terminated Ms. Washington in retaliation for her requests for

medical accommodations of her disability.

                                         44.

      Defendant refused to engage in any additional dialogue concerning Ms.

Washington’s requests to protect herself (and others) while the community was

continuing to deal with the COVID pandemic.

                                         45.

      Defendant failed to engage in the interactive process with Ms. Washington,

even though doing so would not have been an undue hardship.

                                         46.

      Defendant terminated Plaintiff because she had a record of a disability

and/or because it regarded her as disabled and/or because she engaged in protective

activity and/or because she was entitled to the protections of the ADA.




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                                           47.

      Employees outside of her protected class, i.e. employees who were not

disabled and/or not immunocompromised, were treated differently, i.e. not

terminated.

                                           48.

      Plaintiff was qualified to perform her position and had a positive

performance history prior to her complaints.

                                           49.

      Defendant did not terminate Plaintiff because her requests presented any

actual undue hardship, but rather due to the financial greed of the company.


                             CLAIMS FOR RELIEF

  COUNT I: DISABILITY DISCRIMINATION IN VIOLATION OF ADA

                                           50.

      Plaintiff re-alleges paragraphs 13-49 as if set forth fully herein.

                                           51.

      Plaintiff has a physical impairment which substantially limits one or more

major life activities and leaves her immunocompromised.




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                                           52.

      Plaintiff’s pshycial impairment is a “disability” within the meaning of the

ADA, as amended.

                                           53.

      Defendant was aware of Plaintiff’s disability.

                                           54.

      Defendant regarded Plaintiff as having a disability such that she is a person

with a disability and/or perceived disability within the meaning of the ADA, as

amended.

                                           55.

      Plaintiff has a record of having a disability and/or perceived disability such

that she is a person with a disability within the meaning of the ADA, as amended.

                                           56.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           57.

      Defendant terminated Plaintiff’s employment because of her disability,

perceived disability, or record of having a disability.




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                                            58.

      By terminating Plaintiff’s employment because of her disability, perceived

disability, or record of having a disability, Defendant violated the ADA, as

amended.

                                            59.

      Although Defendant purports to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text for disability discrimination.

                                            60.

      Defendant treated other employees outside Plaintiff’s protected class

differently.

                                            61.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of this violation of

the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12111 et

seq., 42 U.S.C. 2000e et seq. and 42 U.S.C. section 1981A.

                                            62.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.




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                                            63.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected her status

as an employee because of her disability.

                                            64.

      As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected her psychological

and physical well-being.

                                            65.

      As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                            66.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.




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                                            67.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            68.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

  COUNT II: FAILURE TO ACCOMMODATE IN VIOLATION OF ADA

                                            69.

      Plaintiff re-alleges paragraphs 13-49 as if set forth fully herein.

                                            70.

      Plaintiff has a physical impairment which substantially limits one or more

major life activities and leaves her immunocompromised.

                                            71.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.

                                            72.

      Defendant was aware of Plaintiff’s disability.


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                                           73.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           74.

      Plaintiff was able to perform the essential functions of her job with a

reasonable accommodation.

                                           75.

      Plaintiff requested that Defendant accommodate her disability by

implementing safety protocols to protect her and other employees during the

COVID-19 pandemic, or to return to her previous assigned post.

                                           76.

      Upon receiving Plaintiff’s request for an accommodation, Defendant failed

to engage in the interactive process with Plaintiff regarding her request for a

reasonable accommodation of her disability.

                                           77.

      Defendant refused to provide Plaintiff with reasonable accommodations,

even though to do so would not impose an undue hardship.




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                                            78.

         By refusing to accommodate Plaintiff, Defendant violated the ADA, as

amended.

                                            79.

         Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s failure to accommodate Plaintiff’s disability was undertaken in bad

faith.

                                            80.

         The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and has otherwise adversely affected her status

as an employee because of her disability.

                                            81.

         As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected her psychological

and physical well-being.

                                            82.

         As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.


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                                            83.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.

                                            84.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            85.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

              COUNT III: RETALIATION IN VIOLATION OF
                       THE ADA, AS AMENDED

                                            86.

      Plaintiff re-alleges paragraphs 13-49 as if set forth fully herein.

                                            87.

      Plaintiff has a physical impairment which substantially limits one or more



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major life activities and leaves her immunocompromised.

                                           88.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.

                                           89.

      Defendant was aware of Plaintiff’s disability.

                                           90.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           91.

      Defendant terminated Plaintiff for requesting an accommodation for her

disability and/or perceived disability.

                                           92.

      Plaintiff’s request for an accommodation of her disability and/or perceived

disability constitutes protected conduct under the ADA, as amended.

                                           93.

      Defendant retaliated against Plaintiff by terminating her employment on the

basis of her request for an accommodation.




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                                          94.

      Defendant terminated Plaintiff’s employment within a close temporal

proximity to Plaintiff’s accommodation requests.

                                          95.

      Defendant’s proffered reasons for terminating Plaintiff’s employment are a

pretext designed to hide Defendant’s retaliatory motive.

                                          96.

      Defendant’s retaliatory actions against Plaintiff were in violation of the

ADA, as amended.

                                          97.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was undertaken in bad faith.

                                          98.

      As a result of Defendant’s retaliatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                          99.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory


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damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.

                                         100.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                         101.

      Plaintiff thus seeks compensatory and punitive damages pursuant to 42

U.S.C. § 12111 et seq.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (a)           General damages for mental and emotional suffering caused by

                    Defendant’s misconduct;

      (b)           Punitive damages based on Defendant’s willful, malicious,

                    intentional,   and    deliberate   acts,   including   ratification,

                    condonation and approval of said acts;

      (c)           Special damages and/or liquidated damages for lost wages and

                    benefits and prejudgment interest thereon;


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      (d)          Reasonable attorney's fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;

      (g)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;

      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof,

                   and prohibiting Defendant from further unlawful conduct of the

                   type described herein; and

      (i)          All other relief to which she may be entitled.


      Respectfully submitted the 17th day of May, 2021.

                                         BARRETT & FARAHANY

                                         s/ Adian R. Miller
                                         Adian R. Miller
                                         Georgia Bar No. 794647

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